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                 4                              UNITED STATES DISTRICT COURT
                 5                                     DISTRICT OF NEVADA
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                 7    THOMAS W. MCNAMARA,                                Case No. 2:18-CV-1336 JCM (CWH)
                 8                                       Plaintiff(s),                   ORDER
                 9          v.
               10     WHAMTECH, INC.,
               11                                      Defendant(s).
               12
               13            Presently before the court is Edward Chang’s motion to withdraw as counsel. (ECF
               14     No. 24). Chang avers that he is departing private practice and has accepted a position as an
               15     Assistant United States Attorney. (Id. at 2). Good cause appearing, Chang’s motion to
               16     withdraw is granted.
               17            Accordingly,
               18            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that Chang’s motion to
               19     withdraw as counsel (ECF No. 24) be, and the same hereby is, GRANTED.
               20            DATED October 21, 2020.
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               22                                                UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
